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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA
  UNITED STATES OF AMERICA
                                                  No. 21-cr-399 (RDM)
               Plaintiff,
  v.

  ROMAN STERLINGOV

               Defendant.




       DEFENDANT’S NOTICE OF INTENT TO PRESENT EXPERT TESTIMONY

        Defendant Roman Sterlingov by and through counsel, and under Fed. R. Evid. 702, 703,

and 705, and Federal Rule of Criminal Procedure 16, hereby provides notice of his intent to

introduce expert testimony as necessary at the upcoming Daubert and In Limine hearings and at

trial. All these witnesses, except for Jonelle Still from Ciphertrace, have previously been noticed

to the Government. The Defense hereby provides notice of the anticipated testimony of the

expert witnesses listed below:

           •   Dr. Francisco Cabanas - Exhibit A

           •   Dr. Itiel Dror - Exhibit B

           •   Jeff Fischbach - Exhibit C

           •   Jonelle Still (Ciphertrace) - Exhibit D

           •   J.W. Verret -Exhibit E

        This notice attaches their revised and signed expert disclosures. Based on the

Government's sealed filings, and discussions with the Government, the Defense is withdrawing

Mr. Jonathan Scott as an expert witness and proffers Ms. Still's expert testimony as a blockchain

tracing expert in his stead. Mr. Fischbach's disclosure is currently unsigned, as he is in Alaska

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and having internet connectivity issues preventing the Defense from obtaining his e-signature.

The Defense will provide a signed copy of his disclosure as soon as possible. The witnesses

listed in the attached exhibits possess special skills and knowledge that will assist the Court and

Jury in understanding the evidence in this case. These witnesses’ testimony should be considered

expert testimony under Rule 702. Each expert witnesses’ curriculum vitae has been sent to the

Court and the Government via email, along with a list of cases from the last four years that the

witnesses have testified in and their publications from the prior ten years.

       As the Defense’s investigation and review of the Government’s discovery proceeds, the

Defense will supplement these disclosures as necessary.

       The Government charges Mr. Sterlingov with Conspiracy to Launder Monetary

Instruments, in violation of 18 U.S.C. § 1956(h); Money Laundering, in violation of 18 U.S.C. §

1956(a)(3)(A), (B); Operating an Unlicensed Money Transmitting Business and Aiding and

Abetting, in violation of 18 U.S.C. § 1960(a) and 18 U.S.C. § 2; and Money Transmission

Without a License, in violation of D.C. Code § 26-1023(c).

       There is no evidence of Roman Sterlingov ever operating Bitcoin Fog. What forensics

evidence the Government has turns on new and standardless black-box blockchain forensic

software implementing unscientific, non-peer-reviewed heuristic algorithms to trace Bitcoin

transactions. Using speculative digital forensics, the Government indulges in cognitive and

confirmation bias, making inaccurate I.P. address attributions, blockchain clustering assertions,

and conclusory assumptions about The Onion Routing Network (TOR Network), financial

accounting forensics, encryption, mathematics, and computer science that are not within the

common knowledge of the average juror. The lack of forensic evidence showing Mr. Sterlingov

operating Bitcoin Fog, its complete absence from any of his seized electronic devices, storage



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devices, notes, and diaries goes directly to the integrity of the Government’s prosecution. This is

the first real test of Chainalysis Inc.’s black-box blockchain forensics. It is the first time the

Government’s forensics in a blockchain case like this face adversarial testing at trial. The

testimony of these experts is crucial to demonstrating the Government’s flawed, biased forensics,

and glaring omissions. Particularly after the Government’s own experts testified at the last

Daubert Hearing on June 23, 2023, that they could neither cite any scientific peer-reviewed paper

attesting to Chainalysis Reactor’s accuracy, nor had any knowledge of its statistical error rate,

false positive rate, or false negative rate. Indeed, the Government’s proffered witness from

Chainalysis testified that she was not aware of any internal analysis at Chainalysis of Chainalysis

Reactor’s error rate. The Defense’s proffered experts are necessary to rebut the Junk Science the

Government is peddling as valid without a scrap of scientific evidence.

        Federal Rule of Evidence 702 governs the admissibility of expert testimony. Expert

testimony is appropriate if specialized knowledge will assist the jury “to understand the evidence

or to determine a fact in issue.” United States v. Eiland, No. 04-379 RCL, 2006 WL 2844921, at

*5 (D.D.C. Oct. 2, 2006) aff’d, 738 F.3d 338 (D.C. Cir. 2013).

        A witness qualified as an expert by knowledge, skill, experience, training, or education

may testify thereto in the form of an opinion or otherwise, if “(1) the testimony is based upon

sufficient facts or data, (2) the testimony is the product of reliable principles and methods, and

(3) the witness has applied the principles and methods reliably to the facts of the case.” Id.

(citing Fed. R. Evid. 702).




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                                         CONCLUSION

        The Defense submits that the expert testimony of the witnesses disclosed in the

attachments to this filing will assist the jury and the Court in their understanding of the evidence

in this case.


Dated: July 7, 2023
New York, New York

                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of July 2023, the forgoing document was filed with the

Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of the

foregoing was sent to the following individuals via e-mail, and that experts’ CVs were separately

sent to the Court and the government via email:

                                                                           s/ Tor Ekeland

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